

People v Carey (2019 NY Slip Op 03254)





People v Carey


2019 NY Slip Op 03254


Decided on April 26, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 26, 2019

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, AND LINDLEY, JJ. (Filed Apr. 26, 2019.) 


MOTION NO. (97/12) KA 09-01250.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCARL CAREY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








